                   Case 1:05-cr-00254-GJQ
A O 245B (R ev. 12/03) Sh eet 1 - Ju dgm ent in a C rim inal C ase   ECF No. 251, PageID.917                  Filed 06/29/06   Page 1 of 6

                                                       United States District Court
                                                                     Western District of Michigan

UNITED STATES OF AMERICA                                                              JUDGMENT IN A CRIMINAL CASE
             V.
                                                                                      Case Number: 1:05-CR-254-07
ANGELA JEAN ZELINSKI
                                                                                      USM Number: 12594-040

                                                                                      Richard C. Gould
                                                                                      D efendant's Attorney




THE DEFENDANT:
 O pleaded guilty to Count Nine.

The defendant is adjudicated guilty of these offenses:

Title & S ection                                                             O ffense Ended                         C ount


18 U.S.C. §§ 371 and 922(d)(1)                                               September 28, 2005                     Nine


N ature of O ffense:


Conspiracy to Sell Firearms to Prohibited Persons



The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
any material change in the defendant's economic circumstances.


                                                                                      Date of Imposition of Judgment: June 14, 2006




DATED: June 29, 2006                                                                   s/Paul D. .Borman
                                                                                      HON. PAUL D. BORMAN
                                                                                      U.S. DISTRICT JUDGE
                Case 1:05-cr-00254-GJQ
AO 245B (R ev. 10/05) Sheet 2 - Im prisonm ent   ECF No. 251, PageID.918          Filed 06/29/06       Page 2 of 6
Judgment--Page 2 of 6
Defendant: ANGELA JEAN ZELINSKI
Case Number: 1:05-CR-254-07
                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of thirty (30) days.




G The court makes the following recommendations to the Bureau of Prisons:



G The defendant is remanded to the custody of the United States Marshal.
G The defendant shall surrender to the United States Marshal for this district
      G at a.m./p.m. on .
      G as notified by the United States Marshal.
O The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
      G before 2 p.m. on .
      G as notified by the United States Marshal.
      O as notified by the Probation or Pretrial Services Office.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on                                           to
                                                                                       , with a certified copy of this judgment.



                                                                         United States Marshal

                                                                 By
                                                                             Deputy United States Marshal
                   Case 1:05-cr-00254-GJQ
AO 2 4 5 B (R e v. 10 /0 5 ) S h e et 3 - Supervised R elease       ECF No. 251, PageID.919   Filed 06/29/06     Page 3 of 6
Judgment--Page 3 of 6
Defendant: ANGELA JEAN ZELINSKI
Case Number: 1:05-CR-254-07
                                                                       SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of two (2) years.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as determined by the court.

O           The above drug testing condition is suspended, based on the court’s determination that the defendant poses a
            low risk of future substance abuse.

O           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

O           The defendant shall cooperate in the collection of DNA as directed by the probation officer.

G           The defendant shall register with the state sex offender registration agency in the state where the defendant
            resides, works, or is a student, as directed by the probation officer.

G           The defendant shall participate in an approved program for domestic violence.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as any additional
conditions on the attached page.

                                                                STANDARD CONDITIONS OF SUPERVISION

1.          the defendant shall not leave the judicial district without the permission of the court or probation officer;
2.          the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
            days of each month;
3.          the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4.          the defendant shall support his or her dependents and meet other family responsibilities;
5.          the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
            other acceptable reasons;
6.          the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7.          the defendant shall refrain from use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8.          the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9.          the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permission to do so by the probation officer;
10.         the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
            of any contraband observed in plain view of the probation officer;
11.         the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
            officer;
12.         the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
            the permission of the court; and
13.         as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
            criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
            confirm the defendant's compliance with such notification requirement.
                   Case 1:05-cr-00254-GJQ                             ECF No. 251, PageID.920   Filed 06/29/06   Page 4 of 6
AO 2 4 5 B (R e v. 1 0/0 5 ) S h e e t 3 C - Supervised R elease
Judgment--Page 4 of 6
Defendant: ANGELA JEAN ZELINSKI
Case Number: 1:05-CR-254-07


                                                                   SPECIAL CONDITIONS OF SUPERVISION


1.           The defendant shall be placed on home detention for a period of five (5) months, as arranged by the probation
             officer. During this time, the defendant shall remain at his place of residence except for employment and other
             activities approved in advance by the probation officer. The defendant shall maintain a telephone at his place of
             residence without any call forwarding, Caller ID, call waiting, modems, answering machines, cordless telephones
             or other special services for the above period. The defendant shall wear an electronic device, shall observe the
             rules specified by the probation department and shall pay the cost of electronic monitoring as directed by the
             probation officer.

2.           The defendant shall provide the probation officer with access to any requested financial information.

3.           The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
             probation officer.

4.           The defendant shall maintain full-time employment while on supervised release.
                  Case 1:05-cr-00254-GJQ
A O 2 4 5 B (R e v. 1 0/0 5 ) S h e et 5 - Crim inal M onetary Penalties   ECF No. 251, PageID.921      Filed 06/29/06    Page 5 of 6
Judgment--Page 5 of 6
Defendant: ANGELA JEAN ZELINSKI
Case Number: 1:05-CR-254-07


                                                                        CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

                                       Assessment                                 Fine                  Restitution
             TOTALS:                   $100.00                                    $0                    $0


G            The determination of restitution is deferred until                               . An Amended Judgment in a Criminal Case (AO 245C)
             will be entered after such determination.

G            The defendant shall make restitution (including community restitution) to the following payees in the amount listed
             below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
all nonfederal victims must be paid before the United States.


Name of Payee                                                     Total Loss             Restitution Ordered          Priority or Percentage

                                                                   $                     $




TOTALS                                                             $0                    $0


G            Restitution amount ordered pursuant to plea agreement $____________

G            The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid
             in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
             options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G            The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             G            the interest requirement is waived for the G fine G restitution.

             G            the interest requirement for the G fine G restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United
States Code, for offenses committed on or after September 13, 1994, but before April 23, 1996.
                   Case 1:05-cr-00254-GJQ
A O 2 4 5 B (R e v.1 0 /0 5 ) S h e et 6 - S chedule of Paym ents   ECF No. 251, PageID.922   Filed 06/29/06   Page 6 of 6
Judgment--Page 6 of 6
Defendant: ANGELA JEAN ZELINSKI
Case Number: 1:05-CR-254-07
                                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A            O            Lump sum payment of $100.00 due immediately, balance due

                          G             not later than _______________, or
                          G             in accordance with G C, G D, G E, or G F below; or

B            G            Payment to begin immediately (may be combined with G C, G D, or G F below); or

C            G            Payment in equal ___________ (e.g., weekly, monthly, quarterly) installments of $____________over a
                          period of (e.g., months or years), to commence   (e.g., 30 or 60 days) after the date of this judgment;
                          or

D            G            Payment in equal ___________ (e.g., weekly, monthly, quarterly) installments of $____________over a
                          period of (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from
                          imprisonment to a term of supervision; or

E            G            Payment during the term of supervised release will commence within _________ (e.g., 30 or 60 days)
                          after release from imprisonment. The court will set the payment plan based on an assessment of the
                          defendant’s ability to pay at that time; or

F            G            Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility
Program, are made to the Clerk of the Court, 399 Federal Building, 110 Michigan, NW, Grand Rapids, Michigan 49503,
unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

G            Joint and Several

             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
             Several Amount, and corresponding payee, if appropriate.




G            The defendant shall pay the cost of prosecution.

G            The defendant shall pay the following court cost(s):

G            The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court
costs.
